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18                     UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
19                               (San Diego)
20
      AL OTRO LADO, Inc., et al.,              Case No. 3:17-cv-02366-BAS-KSC
21
                               Plaintiffs,     Hon. Cynthia A. Bashant
22
23                                             DEFENDANTS’ EXPEDITED
                       v.                      MOTION AND NOTICE OF
24                                             MOTION TO STAY ORDER
25 CHAD F. WOLF, Acting Secretary of           GRANTING PLAINTIFFS’
   Homeland Security; Mark A. MOR-             MOTION FOR CLARIFICATION
26 GAN, Acting Commissioner of U.S.            OF PRELIMINARY INJUNCTION
27 Customs and Border Protection; and          PENDING APPEAL
   William A. FERRARA, Executive As-
28 sistant Commissioner of U.S. Customs        Hearing Date: January 4, 2020
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1 and Border Protection’s Office of Field
                                            *
2 Operations, in their official capacities,     NO ORAL ARGUMENT UNLESS
                                                REQUESTED BY THE COURT
3                              Defendants.
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27    *
       Acting Commissioner Morgan and Executive Assistant Commissioner Ferrara are
28    automatically substituted as Defendants for their predecessors in office pursuant to
      Federal Rule of Civil Procedure 25(d).
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1          DEFENDANTS’ EXPEDITED MOTION AND NOTICE OF MOTION
2           PLEASE TAKE NOTICE that Defendants hereby move on an expedited basis
3     for a stay of this Court’s Order Granting Plaintiff’s Motion for Clarification of the
4     Preliminary Injunction (ECF No. 605) pending Defendants’ appeal of that Order to
5     the U.S. Court of Appeals for the Ninth Circuit. As set forth in the government’s Ex
6     Parte Application for Expedited Briefing and Decision regarding this Expedited Mo-
7     tion, Defendants respectfully request that this Court order any response to this Ex-
8     pedited Motion to be filed on or before December 9, 2020, and that this Court issue
9     a decision on this Expedited Motion on or before December 11, 2020. Defendants
10    also respectfully request that this Court enter an administrative stay of Clarification
11    Order pending briefing and adjudication of this Expedited Motion.
12          Defendants understand that this Expedited Motion seeking a stay of an order
13    purporting to clarify an order granting preliminary injunctive relief does not require
14    a conference of counsel. See Hon. Cynthia Bashant, Standing Order for Civil Cases
15    § 4.A (exempting “applications for temporary restraining orders or preliminary in-
16    junctions” from the meet-and-confer requirement). Defendants’ counsel neverthe-
17    less met and conferred with Plaintiffs’ counsel on December 2, 2020 regarding the
18    relief requested in this Expedited Motion. See Decl. of Alexander J. Halaska ¶ 4
19    (filed concurrently). Plaintiffs oppose the relief requested in this Expedited Motion
20    and take no position regarding the relief requested in the Ex Parte Application for
21    Expedited Briefing and Decision. Id. To the extent a conference is required, Defend-
22    ants respectfully request that this Court waive the requirement that the conference
23    occur seven days prior to the filing of this Expedited Motion.
24    //
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                                                1          DEFS.’ EXPEDITED MOT. TO STAY OR-
                                                                  DER CLARIFYING PRELIM. INJ.
                                                                  Case No. 3:17-cv-02366-BAS-KSC
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1     DATED: December 2, 2020            Respectfully submitted,
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10                                       Assistant Director
11                                       KATHERINE J. SHINNERS
12                                       Senior Litigation Counsel

13                                       /s/ Alexander J. Halaska
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                                           2          DEFS.’ EXPEDITED MOT. TO STAY OR-
                                                             DER CLARIFYING PRELIM. INJ.
                                                             Case No. 3:17-cv-02366-BAS-KSC
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1                              CERTIFICATE OF SERVICE
2               Al Otro Lado v. Wolf, No. 17-cv-02366-BAS-KSC (S.D. Cal.)
3           I certify that I served a copy of this document and its attachments on the Court
4     and all parties by filing this document with the Clerk of the Court through the
5     CM/ECF system, which will provide electronic notice and an electronic link to this
6     document to all counsel of record.
7
8     DATED: December 2, 2020                Respectfully submitted,
9
                                             /s/ Alexander J. Halaska
10                                           ALEXANDER J. HALASKA
11                                           Trial Attorney
                                             United States Department of Justice
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                                                3         DEFS.’ EXPEDITED MOT. TO STAY OR-
                                                                 DER CLARIFYING PRELIM. INJ.
                                                                 Case No. 3:17-cv-02366-BAS-KSC
